Case: 1:17-md-02804-DAP Doc #: 2251-9 Filed: 08/13/19 1 of 2. PageID #: 350618




                    EXHIBIT 9
    Case: 1:17-md-02804-DAP Doc #: 2251-9 Filed: 08/13/19 2 of 2. PageID #: 350619




                             Convention & Trade Show
                  Standard Marketing Material Order as of 1/30/2011
                                 Per 100 Attendees


          Ship to Address:




                                                    Unit of    Quantity    Qty
tem #     Description                               Measure    /100     Requested
          Bonnie's Kroger List
GN33318   Fentanyl Lozenge Brochures                Ea.                2
GH33302   Fentanyl Patch Brochures                  Ea.               10
GN00044   Generic Catalogs                          Ea.                5
GN11127   Unit Dose Brochures                       Ea.                2
GN3471    Hydrocodone/APAP Brochures                Ea.                2
GN05123   Oxycodone Brochures                       Ea.                2
GN83170   Morphine Brochures                        Ea.                2
          Corporate Product Monitoring Cards        Ea.               50
          Pain Management Pocketcard Set            Pk of 10           5
CA-001F   CARES Alliance Business Cards             Pk of 25           2

          Bonnie's Supervalu List
GN33318   Fentanyl Lozenge Brochures                Ea.                2
GN33302   Fentanyl Patch Brochures                  Ea.                0
GN00044   Generic Catalogs                          Ea.                5
GN11127   Unit Dose Brochures                       Ea.                2
GN3471    Hydrocodone/APAP Brochures                Ea.                2
GN05123   Oxycodone Brochures                       Ea.                2
GN83170   Morphine Brochures                        Ea.                2
          Corporate Product Monitoring Cards        Ea.               50
          Pain Management Pocketcard Set            Pk of 10           5
CA-001F   CARES Alliance Business Cards             Pk of 25           2

          Tim's List
GN33318   Fentanyl Lozenge Brochures                Ea.               10
GH33302   Fentanyl Patch Brochures                  Ea.               10
GN00044   Generic Catalogs                          Ea.                5
GN11127   Unit Dose Brochures                       Ea.                2
GN3471    Hydrocodone/APAP Brochures                Ea.                2
GN05123   Oxycodone Brochures                       Ea.                2
GN83170   Morphine Brochures                        Ea.                2
          Corporate Product Monitoring Cards        Ea.               10
          Pain Management Pocketcard Set            Pk of 10           5
CA-001F   CARES Alliance Business Cards             Ea.               10
